                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr271

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
KESHIA BURRIS (6)                        )
________________________________________ )

       THIS MATTER is before the Court upon motion of the defendant for a reduction of

sentence based on retroactive amendments to the United States Sentencing Guidelines relating to

crack cocaine offenses (Doc. No. 432), and the government’s response (Doc. No. 440).

       The defendant pled guilty to conspiring to possess cocaine base with intent to distribute.

(Doc. No. 345: Judgment at 1). At sentencing, the Court determined that the amount of crack

cocaine reasonably foreseeable to the defendant was more than 1.5 kilograms. (Doc. No. 346:

Statement of Reasons (SOR) at 1; Presentence Report (PSR) at ¶ 39). The resulting offense level

of 38 was increased by 3 for using underage persons and firearms in the conspiracy (PSR at ¶¶ 39,

40), and reduced by 3 for acceptance of responsibility (PSR at ¶ 46). Combined with a criminal

history category of III, the resulting advisory guideline range was 292-365 months. (Doc. No. 346:

SOR at 1). The government moved for a downward departure pursuant to USSG §5K1.1 and 18

U.S.C. § 3553(e). (Doc. No. 328: Motion). After granting the motion, the Court sentenced the

defendant to 71 months’ imprisonment, which was 24% of the low end of the range.

       The defendant moves to reduce her sentence based on retroactive amendments to the

guidelines relating to crack cocaine offenses. (Doc. No. 432). However, she incorrectly argues

that the amended guideline range is determined by subtracting two offense levels from the




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effective range of the defendant’s original sentence.1 As amended, USSG §1B1.10(b)(1) directs

courts to determine the guideline range as if the amendments had been in place at the time of

sentencing. If the defendant originally received a sentence less than the guideline range in effect

at that time, a comparably lesser sentence may be imposed upon resentencing. USSG

§1B1.10(b)(2)(B) and cmt. n.3.

       The amended offense level for possessing at least 1.5 kilograms of cocaine base is 36.

USSG Supp. to Appx. C., Amend. 706 (2007). The addition of 3 levels for offense characteristics

and the subtraction of three levels for acceptance of responsibility, results in a total offense level

of 36. The amended guideline range, given a criminal history category of III, is 235-293 months.

Applying the comparable reduction for substantial assistance to the low end of that range yields a

56-month sentence, which the government recommends imposing (Doc. No. 440: Response at ¶

9). The Bureau of Prisons has credited the defendant with serving approximately 50 months’

incarceration. (Doc. No. 434: PSR Supplement at 1).

       Consistent with 18 U.S.C. § 3582(c)(2), the Court has considered the factors set forth in

18 U.S.C. § 3553(a), as well as the defendant’s post-sentence conduct and the public’s safety.

Based on these factors, the Court finds that a reduction of the defendant’s sentence would

accomplish the goals of sentencing.

       IT IS, THEREFORE, ORDERED that the defendant’s motion is GRANTED and the

defendant’s sentence is reduced to 56 months’ imprisonment.



       1
        The defendant’s 71-month sentence falls within the guideline range for an offense level
25 and criminal history category III. USSG §5A (Sentencing Table). Without explanation, the
defendant argues that her amended offense level is 23, with a resulting range of 51-71 months.
(Doc. No. 432: Motion at 4).

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       IT IS FURTHER ORDERED that, if the defendant is released from imprisonment

without a residential plan accepted by the United States Probation Office, the defendant shall

submit to the local Residential Reentry Center for a period not to exceed 90 days, with work

release, at the direction of the U.S. Probation Office, as a condition of supervised release. All

other terms and conditions previously imposed remain unchanged.

       The Clerk is directed to certify copies of this Order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                  Signed: August 20, 2008




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